
237 Md. 655 (1965)
207 A.2d 498
THOMPSON
v.
WARDEN OF MARYLAND PENITENTIARY
[App. No. 111, September Term, 1964.]
Court of Appeals of Maryland.
Decided March 5, 1965.
Before HAMMOND, HORNEY, SYBERT, OPPENHEIMER and BARNES, JJ.
PER CURIAM:
This is petitioner's second application for leave to appeal from a denial of relief under the Uniform Post Conviction Procedure Act. This Court's prior denial adopted the opinion of Judge Loveless below. Thompson v. Warden, 229 Md. 641, 184 A.2d 35 (1962).
In denying this second application below, Judge Bowen, in a thorough opinion, reviewed petitioner's prior petition before Judge Loveless, and the proceedings in the federal court under habeas corpus, and found that all points raised were previously raised and decided under petitioner's first post conviction petition.
*656 In any event, petitioner's present application does not comply with Maryland Rule BK 46 b which requires a statement of reasons and must be dismissed on that ground. Dofflemyer v. Director, 237 Md. 639.
Application denied.
